Case 1:19-cv-02367-ABJ   Document 153-8    Filed 10/31/24   Page 1 of 11




       Strzok v. Garland, et al., No. 1:19-cv-2367-ABJ (D.D.C.)




              Plaintiff’s Exhibit 40

To Plaintiff’s Summary Judgment Memorandum
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6/8/22, 10:21 AM   Case 1:19-cv-02367-ABJ           Document
                                 Exclusive: Trump pressed          153-8
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  Vox
                                             2FBI officials
   Exclusive: Trump pressed Sessions to fire 2
   who sent anti-Trump text messages
    Trump also asked Attorney General Sessions and FBI Director Wray to find derogatory
    information on the officials, Peter Strzok and Lisa Page.
    By Murray Waas II Apr 20, 2018, 9:20am EDT




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                                                                                                                Exhibit
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                           Images
  Kevin Dietsch-Pool/Getty Image




https://www.vox.com/201 8/4/20/17258230/trump-sessions-fire-fbi-officials-strzok-page-text-messages
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    • On June 8,
              8, 2022,
                 2022,3:30
                       3:30 to 4:15 pm (ET), join Vox staffers Umair Irfan
                                                                     Irfan and Neel
    Dhanesha, and Rebecca
    Dhanesha,     Rebecca Leber
                          Leber for a
                                    aTwitter Spaces chat about their reporting on potential
    solutions to the climate crisis. RSVP Here.




   President Donald Trump sharply questioned Attorney General Jeff Sessions and FBI
   Director Christopher Wray during aaWhite House meeting on January 22 about why two
    senior FBI officials — Peter Strzok and Lisa Page — were still in their jobs despite
                                  -                                               -




    allegations made by allies of the president that they had been disloyal to him and had
    unfairly targeted him and his administration, according to two people with knowledge of
    the matter.

    The president also pressed his attorney general and FBI director to work more aggressively
    to uncover derogatory information within the FBI's files to turn over to congressional
   Republicans working to discredit the two FBI officials, according to the same sources.

    The very next day, Trump met Sessions again, this time without Wray present, and even
    more aggressively advocated that Strzok and Page be fired, the sources said.

    Trump's efforts to discredit Strzok and Page came after Trump was advised last summer
    by his then-criminal defense attorney John Dowd that Page was aalikely witness against
    him in special counsel Robert Mueller's investigation into whether Trump obstructed
   justice,
   justice, according to two senior administration officials. That Trump knew that Page might
    be aapotential witness against him has not been previously reported or publicly known.

    The effort to discredit Strzok and Page has been part of aabroader effort by Trump and his
    allies to discredit and even fire FBI officials who they believe will be damaging witnesses
    against the president in Mueller's obstruction of justice probe.

    Those attacks,
          attacks, in turn,
                      turn, are part of a
                                        abroader push to denigrate Mueller himself and make it
    easier for Trump to publicly justify his potential firing. Those efforts have taken on new
    urgency as Mueller continues to rack up guilty pleas from former senior Trump officials like
    Michael Flynn and Rick Gates, and after the FBI, in conjunction with other federal
                            office, home, and hotel room of Michael Cohen, Trump's
    prosecutors, raided the office,
    longtime lawyer. Trump's fury over the raid has made many of his closest advisers worry
    that he's inching closer to firing Deputy Attorney General Rod Rosenstein, who oversees
    the Mueller probe, and possibly Mueller as well.

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    Last May, Trump fired James Comey as FBI director, who today appears to be the special
    counsel's most crucial witness against the president. Trump also enlisted his attorney
    general to pressure current FBI Director Wray earlier this year to fire then-FBI Deputy
   Director Andrew McCabe. Wray thought the pressure was so improper that he threatened
    to resign if it did not end.

    Trump's efforts against Page and Strzok demonstrate that the president personally has
    targeted even midlevel officials and career FBI agents.

    Why Strzok and Page became the focus of right-wing anger
    Strzok was formerly the FBI's deputy assistant director of the counterintelligence division,
    and Page was aasenior FBI attorney.

    Strzok helped oversee two of the FBI's most politically contentious investigations: the
    probe of Hillary Clinton's use of aaprivate email server and aaprivate email account while she
    was secretary of state; and an investigation into whether campaign aides to Donald Trump
    colluded with Russia to interfere with the 2016 presidential election. As general counsel to
    then-Deputy FBI Director McCabe, Page provided legal and strategic advice about both
    investigations to both Comey and McCabe.
                                     McCabe.


    For aabrief period, Strzok served as the lead FBI agent for the special counsel, and Page as
    an attorney also worked for Mueller. The two came under scrutiny by four separate
   Republican congressional committees after text messages between the two of them
    surfaced last December in which both had made derogatory comments about Trump just
    prior to and after the 2016 election. Strzok and Page worked closely together and were
    engaged in an extramarital affair at the time.

    Page and Strzok repeatedly disparaged Trump in their private messages to each other.
   Right after Trump's surprise electoral victory, Strzok texted Page: "0MG IIam so
    depressed." Page replied: "I don't know if IIcan eat. IIam very nauseous."

        areview of thousands of the texts sent between the two FBI officials shows that
    But a
    they also severely criticized both Sen. Bernie Sanders and Hillary Clinton, and talked bluntly
    and critically of colleagues and others. No evidence has come to light to substantiate
    allegations that the FBI's investigations were politicized to either protect Clinton or
    persecute Trump.
              Trump. In
                     In fact,
                        fact, Strzok was reassigned from Mueller's team when the
    derogatory text messages were discovered by his bosses (Page reportedly had left
   Mueller's team earlier). Through their attorneys, Strzok, Page, and McCabe declined to
    comment.
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    Nevertheless, Trump and his allies have attempted to paint Mueller as untrustworthy and
    biased because both Strzok and Page
                                   Page briefly worked for him. And they have pushed the
    narrative that aacabal of FBI officials — which at times has included Comey,
                                                                          Comey, McCabe,
                                                                            -    McCabe, Page,
                                                                                         Page,
    and Strzok, among others — are out to get the president. -




    "There was aabrazen plot to illegally exonerate Hillary Clinton, and if she didn't win the
    election, to then frame Donald Trump with aafalsely created crime," veteran Washington
    attorney Joseph diGenova,
                    diGenova, whom Trump recently considered having join his legal defense,
                                                         A group of FBI and DOJ people were
    told Fox News in January. "Make no mistake about it: A
    trying to frame Donald Trump of aafalsely created crime."

    The missing text messages
    The narrative of aa"deep state" conspiracy against the White House by government
    workers has at times centered on some missing text messages between Strzok and Page
    — text messages that, according to critics of the Mueller investigation, were allegedly
    -




    deleted by the FBI to cover up aaplot to undermine Trump.

    During the January 22 meeting with Sessions and Wray, the president parroted that
    narrative, complaining about aasignificant gap of several months in Page and Strzok's text
    messages and suggesting that the FBI was covering them up, according to the two
    government officials familiar with the meeting.

    The FBI declined to comment for this article, refusing to confirm that Wray met with the
    president or attorney general on January 22: "There is no public schedule for the director,"
    FBI spokesperson Andrew Ames said in an email. Regarding other details, Ames said, "We
                                                         A spokesperson for the
    have no comment on the remainder of your questions." A
   Department of Justice said, "We don't comment on conversations with the president."

    Trump's meeting with Sessions and Wray occurred one day after aareport in the
               Post, in which Sen. Ron Johnson (R-WI), the chair of the Senate Homeland
    Washington Post,
    Security and Governmental Affairs Committee, had written Wray complaining that the FBI
    "did not preserve text messages between Ms. Page and Mr. Strzok" during aafive-month
    period that was crucial to investigators.

    After the White House meeting on January 22, the attorney general was immediately
    responsive. In aastatement made public that same day, Sessions vowed, "We will leave no
    stone unturned to confirm with certainty why these text messages are not now available
          oroduced and will use every technology
    to be produced                    technolov available to determine whether the missing
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    messages are recoverable from another source."




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        McNamee/Getty Images
    Win McNamee/Getty Images




    The next morning, Trump ratcheted up the pressure, tweeting: "In one of the biggest
    stories in aalong time, the FBI says it is now missing five months worth of lovers Strzok -                                   -




    Page texts,
    Page texts, perhaps 50,000, all in prime time. Wow!"


    But within aaweek, the Justice Department's inspector general was able to recover and
                                                     It turned out the FBI had been unable to
    turn over the missing text messages to Congress. It
    recover texts from thousands of its agents, not just Strzok and Page, when it upgraded its
   Samsung Galaxy phones.

                         apotential witness against him
    Trump viewed Page as a
    The event at the center of the special counsel's obstruction of justice investigation is the
    now-famous account by Comey that President Trump had pressured him, in aaone-on-one
    meeting in February 2017, to shut down the FBI's criminal investigation into whether former
    National Security Adviser Michael Flynn had lied to the FBI about his contacts with
    Russian officials.

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    When Comey refused to shut down the Flynn investigation and turned down other
    requests from Trump regarding the Russia probe, Trump fired Comey. That, in turn, led to
    the appointment of Mueller as special counsel to investigate possible collusion between
    Trump campaign aides and Russia to interfere with the 2016 presidential election. Mueller


    almost immediately expanded his investigation into whether Trump also obstructed
   justice.
   justice.

    Trump and his allies have expressed their belief that it would be difficult to bring any
    obstruction of justice case against the president because the allegations would boil down
    to the word of one person — Comey — versus that of another, the president of the United
                                               -              -




    States. Trump has relentlessly attacked Comey, hoping to raise doubts about the
    former FBI director's credibility.

    As Vox's Zack Beauchamp has written, Mueller could seek permission to indict and
   prosecute Trump if he feels he has enough evidence of aapotential crime. But it's not clear
    that charges can actually be brought against aasitting president, though Mueller's findings
    could nevertheless be turned over to Congress and serve as the centerpiece of any
    impeachment proceedings against Trump.

    Last June, IIfirst reported at Vox that Comey regularly confided in three of the FBI's most
    senior managers about his troubling interactions with Trump regarding the Russia probe,
    including the Oval Office meeting during which Trump asked Comey to shut down the FBI's
    investigation of Flynn. Among those Comey said he confided in were Andrew McCabe; Jim
   Rybicki, then Comey's chief of staff; and James Baker, then the FBI's
                                                                   FBI's general counsel.
                                                                                 counsel.


    One quote in aafollow-up story particularly distressed the president's then-private
    attorney, John Dowd, and other advisers to the president, according to aasenior
    administration official. "What you are going to have is the potential for aapowerful
    obstruction case," aasenior law enforcement official told me at the time. "You are going to
    have the [former] FBI director testify, and then the acting director, the chief of staff to the
    FBI director, the FBI's general counsel, and then others, one right after another. This has
    never been the word of Trump against what [James Comey] has had to say. This is more
                               Investigation versus Donald Trump."
    like the Federal Bureau of Investigation

   In subsequent testimony to the Senate Intelligence
   In                                    Intelligence Committee, Comey confirmed that he
    regularly confided in McCabe, Rybicki, and Baker but also briefly noted that he sometimes
    invited other less senior FBI officials to meetings on the topic of his encounters with
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    Trump.

    One person Comey identified was "the deputy director's chief counsel." This was an
    apparent reference to Lisa Page. No press reports then or since identified her as aa
    potential witness against Trump before this story — even as the president, his political
                                                                                    -




    allies, and Republican-controlled investigative committees on Capitol Hill relentlessly
    attacked her.


    But the reference caught Dowd's attention. After doing some research, Dowd concluded
    that Page might be aadangerous witness against the president, according to aasenior
    administration official, because she may have attended meetings with Comey and other
    senior FBI managers during which Comey discussed his troublesome contacts with the
    president — perhaps even the meeting during which Trump allegedly ordered Comey to
                    -




    shut down the Flynn investigation. Moreover, as chief counsel to McCabe, Page might have
    been privy to information McCabe had about similar matters.

                                 Policy in late January, President Trump approved a
    As first reported by Foreign Policy                                           aplan to
    carry out aacampaign to discredit senior FBI officials after Dowd warned him that they
    were all almost certainly going to provide damaging testimony that might implicate him in
    an obstruction of justice case. According to the source, one of the officials specifically
    targeted was Page.

                   Republican assault on the FBI
    The relentless Republican


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                      Images
    Mark Wilson/Getty Images




    McCabe, as deputy director, was perhaps the most serious threat as aawitness against
    Trump, beyond Comey.
    Trump,        Comey. Sure enough,
                              enough, Trump turned his
                                                   his sights to McCabe in recent
    months.
    months.

    According to an Axios report in January, Wray had threatened to resign as FBI director
    after Sessions, acting on Trump's orders, pressured him to fire McCabe. Wray told
    Sessions that he had no cause or legal justification to fire McCabe. Sessions ultimately
   fired McCabe in March.

   In light of those events, a
   In                        asenior federal law enforcement official told me that he was
    surprised Wray did not take more seriously the president's discussion with him regarding
    Page. "A president ordinarily doesn't care about personnel and staffing decisions at the
    FBI. One had to at least consider this as aafurtherance of an obstruction," the person said.

    What's been lost in the fog of conspiracy theorizing around the Mueller probe is the fact
    that virtually all of the FBI's most senior managers supported Comey's decision to
                                                                              11 days before the
    announce the reopening of the investigation into Hillary Clinton's emails 11
    election — an announcement that arguably helped Donald Trump pull off his victory.
                   -




    Even as that investigation received blanket coverage, the public knew nothing at all about
    the FBI investigation into Trump's top campaign officials for colluding to interfere with the
    presidential election to help Trump.

    "Look, if there was some conspiracy by Jim Comey, Andy McCabe, Lisa Page, Peter Strzok,
    the FBI, the deep state, whatever you want to imagine," aasenior federal law enforcement
    official told me, "the plain fact is that if someone at FBI wanted to tip the election, they
    would have leaked the existence of that investigation to the New York Times. But nobody
    said aaword, and nobody did because that is the way things really work."

    The right's assault on the institutional reputation of the FBI has been politically successful.
    A Reuters/Ipsos poll in January found that nearly 73 percent of Republicans think that
    A
    "members of the FBI and Department of Justice are working to delegitimize Trump
    through politically motivated investigations."
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   In the meantime, the congressional investigations of the FBI have taken a
   In                                                                      atoll on the law
    enforcement agency's investigative capabilities.




                               astatement saying that even though the FBI had already
    On March 18, Wray released a
    "dedicated 27 FBI staff to review records" to the House
                                                      House Judiciary Committee about Comey,
                                                                                      Comey,
    McCabe, Page,
    McCabe, Page, Strzok,
                  Strzok, and other FBI officials, the FBI was now "doubling" its efforts. There
    would now be no less than 54 FBI staff members who would work "two shifts per day from
   8a.m. to midnight to expedite completion of this project."
   8

    The number is apparently greater than the number of FBI agents working full time for
   Robert Mueller.

   Murray Waas is an independentjournalist who is a
                                                  aformer investigations editor for Vice,
   aformer investigative reporter for Reuters,
   a                                  Reuters, and a
                                                   aformer senior correspondent for
   National Journal. He has written about the Mueller investigation for both Vox andForeign
   Policy, and has written for the New Yorker, the Atlantic, the New York Times, and the
   Policy,
   Boston Globe.




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